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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                  :
    In re                                         :    Chapter 11
                                                  :
    FTX TRADING LTD., et al., 1                   :    Case No. 22-11068 (JTD)
                                                  :    (Jointly Administered)
                                   Debtors.       :
                                                  :    Hearing Date: October 19, 2023, 10:00 a.m. ET
                                                  :    Objection Deadline: October 12, 2023, 4:00 p.m. ET
                                                  :


     NOTICE OF THE UNITED STATES TRUSTEE’S MOTION TO COMPEL THE AD
    HOC COMMITTEE OF NON-U.S. CUSTOMERS OF FTX.COM TO COMPLY WITH
         THE COURT’S ORDER CONCERNING THE VERIFIED STATEMENT
       OF EVERSHEDS SUTHERLAND (US) AND MORRIS, NICHOLS, ARSHT &
             TUNNELL LLP PURSUANT TO BANKRUPTCY RULE 2019


        PLEASE TAKE NOTICE that on September 28, 2023, Andrew R. Vara, United States
Trustee for Regions Three and Nine (the “U.S. Trustee”), filed his Motion to Compel the Ad Hoc
Committee of Non-U.S. Customers of FTX.Com to Comply with the Court’s Order Concerning
the Verified Statement of Eversheds Sutherland (US) and Morris, Nichols, Arsht & Tunnell LLP
Pursuant to Bankruptcy Rule 2019 (the “Motion”) with the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”).

       PLEASE TAKE FURTHER NOTICE that any responses to the Motion must be in
writing, filed with the Clerk of the Bankruptcy Court, 824 Market Street, Third Floor,
Wilmington, Delaware 19801, and served upon the undersigned counsel to the U.S. Trustee on or
before 4:00 P.M. (Eastern Time) on October 12, 2023, which service may be by email.

        PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be held on
October 19, 2023, at 10:00 A.M. (Eastern Time) before the Honorable John T. Dorsey, United
States Bankruptcy Court Judge, in the United States Bankruptcy Court for the District of
Delaware, 824 Market Street, 5th Floor, Courtroom # 5, Wilmington, Delaware 19801.

    PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
ACCORDANCE WITH THIS NOTICE, THEN THE BANKRUPTCY COURT MAY
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      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
      are 3288 and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases,
      a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.ra.kroll.com/FTX.
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GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR A HEARING.




Dated: September 28, 2023             Respectfully submitted,
       Wilmington, Delaware
                                      ANDREW R. VARA
                                      UNITED STATES TRUSTEE,
                                      REGIONS 3 and 9

                                      By: /s/ Juliet Sarkessian
                                      Juliet Sarkessian
                                      Trial Attorney
                                      United States Department of Justice
                                      Office of the United States Trustee
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